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                                                                               JUDGE DAVID GUADERRAMA
                                                                                         r        rr
                           IN THE UNITED STATES DISTRICT COURT                                    E 1)
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION                             2011   SEP -6   PH    5:   06

UNITED STATES OF AMERICA,                         §    CRIMINAL NO.

           Plaintiff,                              §   SEALED                                     EP!JTy
                                                   §   INDICTMENT
v.                                                §
                                                   §   CT!: 18U.S.C.286;
JOSE PHILLIP VARELA (1), and                       §   CTS 2 & 3: 18 U.S.C. § 641 & 18 U.S.C. § 2
                                                   §   CTS 4 & 5: 18 U.S.C. § 1028A
                                                   §
           Defendants.                             §   Notice of Government's Demand for
                                                   §   Forfeiture
                                                   §
THE GRAND JURY CHARGES THAT:
                                                        E P 1 7 C R 1 725
                                            COUNT ONE
                                           (18 U.S.C. § 286)
(CONSPIRACY TO DEFRAUD THE GOVERNMENT WITH RESPECT TO CLAIMS)

                                          INTRODUCTION

          At all times material and relevant to this Indictment:

     1.   Defendant JOSE PIIILLIP VARELA ("VARELA") resided in and conducted the
          activities related to this scheme in the Republic of Mexico.

     2. Defendant                                 resided in and conducted the activities related to
          this scheme in El Paso, Texas, which is in the Western District of Texas.

     3. The   Internal Revenue Service ("IRS"): The IRS was an agency of the United States
          Department of the Treasury responsible for enforcing and administering the tax laws of the
          United States, and collecting taxes owed to the United States.

     4. IRS Form Schedule C: IRS Form Schedule C was a form on which taxpayers reported
          income derived from operating a business.

     5. IRS Form W-2 (Wage         and Tax Statement): Form W-2 is a form every employer is
          required to file when payments of $600 or more, in cash or other thing of value, is made to
          an employee if income, social security or Medicare tax was withheld, or income tax would
          have been withheld had the employee not claimed an exemption or more than one
          withholding allowance.

     6.   The IRS Tax Refund Checks: The IRS had sole authority to issue checks drawn on United
          States Treasury funds to taxpayers qualifying for a federal income tax refund.
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   7. Money Service Business ("MSB"): MSB operated for the purpose of, among other things,
      cashing checks for individuals who may not have a bank account. The MSB takes a
      percentage of the total check or checks cashed as a fee.

         Beginning on or about July 14, 2011 and continuing through and including on or about July

4, 2015, in the Western District of Texas, the Republic of Mexico and elsewhere, Defendants,

                               JOSE PHILLIP VARELA (1), and
                                                       U
and other persons known and unknown to the Grand Jury, knowingly and intentionally entered

into an agreement, combination and a conspiracy with each other and with others known and

unknown, to defraud the United States by obtaining and aiding to obtain the payment of a

materially false, fictitious and fraudulent claim, in the manner and means as follows:

                                     MANNER AND MEANS

         To accomplish the objects of this conspiracy, Defendants and others to the grand jury

known and unknown used the following manner and means, among others:

    a. Defendant, VARELA and others both known and unknown to the grand jury, obtained the
       means of identification of S.R., A.M., and others, including name and/or Social Security
       numbers, in order to use the stolen means of identification to file fraudulent IRS income
         tax returns.

    b. The actions of defendant VARELA, and actions      of others both known and unknown to the
         grand jury caused IRS to issue tax refunds based on fraudulently filed tax returns, which
         refunds were not due and owing.

    c. VARELA initially had the tax refunds from the IRS sent to his personal bank accounts at
         a bank in El Paso, Texas, and after the bank closed his accounts he had the tax refund
         checks sent to           home address in El Paso, Texas. When the tax refunds were
         being deposited at VARELA's personal bank accounts, the funds were usually transferred
         to Mexican bank accounts in VARELA's or in another's name, or withdrawn from
         Automated Teller Machines (ATM) in Mexico.

    d.            received the tax refund checks at his home address in El Paso, Texas and notified
          VARELA when new checks arrived. VARELA picked up the checks from                   and
          took them to MSBs in El Paso, TX, for cashing. VARELA spoke personally with the
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      person in charge of the MSB to negotiate commissions paid to the MSB, and to inquire
      about the documentation needed for the cashing of the checks, and portraying himself as
      a tax preparer.

 e. The MSB required VARELA to provide copy of the tax returns related to the checks
      being cashed, copy of the taxpayers' identification, and a Power of Attorney giving
      VARELA consent from the taxpayers to cash their checks. The Powers of Attorney were
      all issued by the same Mexican Notary Public in Mexico, and many of the identifications
      appeared to be falsified.

 f.   VARELA maintained constant communication with                via email and telephone
      regarding the tax refund checks, and often instructed         to pick up money from tax
      refund checks cashed by VARELA at the      MSB.   VARELA    also provided specific
      instructions to        for the disposition of the money picked up at the MSB.

 g.   The majority of the IRS tax returns were filed electronically, with a few exceptions of paper
      returns being filed directly with the IRS. The electronic tax returns were filed using
      TaxSlayer or TurboTax software from Mexican IP addresses. VARELA' s bank account
      records show multiple payments to TaxSlayer and TurboTax.                    home address in
      El Paso, Texas was listed on these income tax returns so the IRS Refund Checks would be
      mailed to that location.

 All in violation of Title 18, United States Code, Section 286.



                                   COUNTS TWO AND THREE
  (18 USC § 641 & 18 U.S.C. 2-AIDING & ABETTING THEFT OF PUBLIC MONEY)

      The Manner and Means set out in Count One of this Indictment are incorporated by

reference in their entirety as if fully set herein.

      On or about the dates listed below, within the Western District of Texas and elsewhere,

Defendants,

                               JOSE PIIILLIP VARELA (1), and


did willfully and knowingly embezzle, steal, purloin, and convert to their own use, and did aid

and abet each other to embezzle, steal, purloin, and convert to their own use
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 and the use of another, money of the United States, namely, funds administered by the

 Department of the Treasury in the form of federal income tax refunds in the names of the

 individuals whose initials are listed below and in the amounts listed below in the Western District

 of Texas, the Republic of Mexico and elsewhere:

     Count         Date IRS Tax          Victim              Amount        Tax Year
                   Refund Check
                      Cashed
     TWO              10/8/2013           S.R.           $1,989.90          2012
    THREE              9/24/13            A.M.           $1,847.64          2012


       All in violation of Title 18, United States Code, Sections 641 and 2.



                                COUNTS FOUR AND FIVE
                    (18 USC 1028A - AGGRAVATED IDENTITY THEFT)

       On or about each date listed below, within the Western District of Texas, the Republic of

Mexico and elsewhere, JOSE PHILLIP VARELA did knowingly possess, transfer, and use,

without lawful authority, the means of identification of another person during and in relation to

offenses in this Indictment described as Related Counts below, that is, JOSE PHILLIP VARELA

did knowingly possess, transfer, and use the names and Social Security number of actual persons

known to the grand jury, listed by their initials below, during and in relation to committing the

offense of Theft of Public Money in violation of 18 U.S.C.      §   641.

                                     Date of                                      Related
                 Count                                       Vicfim
                                     Offense                                      Count
         FOUR________                4/19/13          S.R.                  Two
                                      4/3/13          A.M.                  Three
         FIVE

       All in violation of Title 18, United States Code, Section 1028A.


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                    NOTICE OF GOVERNMENT'S DEMAND FOR FORFEITURE
                             (18 U.S.C. § 981 and 28 U.S.C. § 2461(c))

       As a result of the offenses set forth in Counts One through Three of this Indictment, the

United States of America gives notice to the Defendant,

                                 JOSE PHILIP VARELA (1); and


of its intent to seek forfeiture, pursuant to   18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),   of

any property, real and personal, which constitutes or is derived from proceeds traceable to the

violations, including but not limited to a money judgment representing the amount of proceeds

obtained as a result of the offenses.

                                     Substitute Asset Provision

       If any of the above described forfeitable property, as a result of any act or omission of the

defendants:

               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, a third person;

               c.       has been placed beyond the jurisdiction of the Court;

               d.       has been substantially diminished in value; or

               e.       has been commingled with other property which cannot be subdivided
                        without difficulty;




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it is the intent of the. United States, pursuant to 21 U.S.C.   §   853(p), as incorporated by 28   U.s.c.


§   2461(c), to seek forfeiture of any other property of said defendants up to the value of the above-

described forfeitable property.




                                                       A TRU1W%L SGATURE
                                                                   ,ACTED PURSUANT TO
                                                        L. .......  fERNMENT ACT OF 2002
                                                       Foreperson

RICHARD L. DURBIN, JR.
United States Attorney


BY:


                        States Attorney




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